     Case 3:23-cv-03417-VC           Document 509-2   Filed 03/31/25     Page 1 of 18



 1   Chris K. Ridder (SBN 218691)
     Ridder, Costa & Johnstone LLP
 2   chris@rcjlawgroup.com
     440 N. Barranca Avenue, #7550
 3   Covina, CA 91723
     Tel: (650) 466-0586
 4   Fax: 650) 466-6182

 5   Rebecca Tushnet (No. 3043296 (N.Y.)) (pro hac vice
     pending)
 6
     rtushnet@law.harvard.edu
 7   520 Hauser, Harvard Law School
     1575 Massachusetts Avenue
 8   Cambridge, MA 02130
     Telephone: 703-593-6759
 9
     Attorneys for Amici Curiae
10

11
                                       UNITED STATES DISTRICT COURT
12
                                     NORTHERN DISTRICT OF CALIFORNIA
13
                                           SAN FRANCISCO DIVISION
14
                  RICHARD KADREY, et al.,                 Case No. 3:23-cv-03417-VC-TSH
15
     Individual and Representative Plaintiffs,              [PROPOSED] AMICUS BRIEF OF
16                                                          INTELLECTUAL PROPERTY
                                v.                          LAW PROFESSORS
17
                META PLATFORMS, INC., a                     Date: May 1, 2025
18                Delaware corporation,                     Time: 10:00 a.m.
                                                            Dept: Courtroom 4, 17th Floor
19                                   Defendant.             Judge: Vince Chhabria
                                                            Trial Date: None
20                                                          Date Action Filed: July 7, 2023
21

22

23

24

25

26

27

28
                                                              [PROPOSED] AMICUS BRIEF OF IP LAW
                                                                                    PROFESSORS
                                                                            3:23-CV-03417-VC-TSH
     Case 3:23-cv-03417-VC                     Document 509-2                 Filed 03/31/25              Page 2 of 18




                                                           Table of Contents
 1

 2   TABLE OF AUTHORITIES............................................................................................... iii
 3
     STATEMENT OF INTEREST OF AMICI CURIAE .......................................................... 1
 4
     SUMMARY OF ARGUMENT............................................................................................ 1
 5
     ARGUMENT ....................................................................................................................... 2
 6
         I.    FAIR USE IS CONCERNED WITH THE PRODUCTION OF KNOWLEDGE,
 7
         NOT “FAIRNESS” IN GENERAL. ................................................................................ 2
 8
         II.   COPYING TO CREATE NEW TOOLS IS TRANSFORMATIVE ....................... 5
 9
         III. GIVEN TRANSFORMATIVENESS, FAIR USE FACTORS TWO AND THREE
10
         ARE OF LIMITED SIGNIFICANCE. ............................................................................ 7
11
         IV. INTERMEDIATE COPYING FOR A TRANSFORMATIVE PURPOSE IS NOT
12
         A MARKET TO WHICH PLAINTIFFS ARE ENTITLED. .......................................... 8
13
         V. CONCLUSION ...................................................................................................... 12
14
                 APPENDIX (SIGNATORIES)………………………………………………….14
15

16

17

18

19

20

21

22

23

24

25

26

27
               AMICUS BRIEF OF IP LAW PROFESSORS, CASE NO. 3:23-cv-03417-VC-TSH
                                                                ii
28
     Case 3:23-cv-03417-VC                         Document 509-2                    Filed 03/31/25                 Page 3 of 18




                                                     TABLE OF AUTHORITIES
 1   Cases

 2   A.V. ex rel. Vanderhye v. iParadigms, LLC, 562 F.3d 630 (4th Cir. 2009) ................. 5, 6, 7
     American Institute of Physics v. Schwegman, Lundberg & Woessner, P.A., 2013 WL
 3
     4666330 (D. Minn. Aug. 30, 2013) ...................................................................................... 7
 4
     American Society for Testing & Materials v. Public.Resource.org, Inc., 82 F.4th 1262
 5
     (D.C. Cir. 2023) .................................................................................................................. 11
 6   American Society for Testing & Materials v. Public.Resource.org, Inc., 82 F.4th 1262
 7   (D.C. Cir. 2023) .................................................................................................................. 11

 8   Arica Inst., Inc. v. Palmer, 970 F.2d 1067 (2d Cir. 1992) ................................................... 3
     Authors Guild v. Google, Inc., 770 F.Supp.2d 666 (S.D.N.Y.2011).................................. 14
 9
     Authors Guild v. Google, Inc., 804 F.3d 202 (2d Cir. 2015).................................... 2, 10, 11
10
     Authors Guild, Inc. v. HathiTrust, 755 F.3d 87 (2d Cir. 2014) ............................................ 6
11
     Bell v. Eagle Mountain Saginaw Independent School District; 27 F.4th 313 (5th Cir. 2022)
12   ............................................................................................................................................ 10
13   Bill Graham Archives v. Dorling Kindersley Ltd., 448 F.3d 605 (2d Cir. 2006) ............... 10
14   Blanch v. Koons, 467 F.3d 244 (2d. Cir. 2006) .................................................................... 8

15   Cambridge University Press v. Patton, 769 F.3d 1232 (11th Cir. 2014) ........................... 11
     Campbell v. Acuff-Rose Music, Inc., 510 U.S. 569 (1994) .................................................. 4
16
     Castle Rock Ent., Inc. v. Carol Pub. Grp., Inc., 150 F.3d 132 (2d Cir. 1998) ..................... 2
17
     Flo & Eddie, Inc. v. Sirius XM Radio, Inc., 821 F.3d 265 (2d Cir. 2016) ........................... 5
18   Google LLC v. Oracle America Inc., 593 U.S. 1 (2021) ...................................................... 7
19   Harper & Row Publishers, Inc. v. Nation Enterprises, 471 U.S. 539 (1985) ...................... 3
20   Kelly v. Arriba Soft Corp., 336 F.3d 811 (9th Cir. 2003)..................................................... 9

21   Lewis Galoob Toys, Inc. v. Nintendo of America, Inc., 780 F. Supp. 1283 (N.D. Cal. 1991)
     aff’d, 964 F.2d 965 (9th Cir. 1992) ...................................................................................... 9
22
     Perfect 10, Inc. v. Amazon.com, Inc., 508 F.3d 1146 (9th Cir. 2007) ............................ 4, 11
23
     Sega Enterprises Ltd. v. Accolade Inc., 977 F.2d 1510 (9th Cir. 1992)............................... 7
24   Swatch Grp. Mgmt. Servs. Ltd. v. Bloomberg L.P., 756 F.3d 73 (2d Cir. 2014)………..7
25   Thomson Reuters Enterprise Centre GMBH v. Ross Intelligence Inc., --- F.Supp.3d ----,
26   2025 WL 458520 (D. Del. Feb. 11, 2025) ……………………………………………..6

27
               AMICUS BRIEF OF IP LAW PROFESSORS, CASE NO. 3:23-cv-03417-VC-TSH
                                                                     iii
28
     Case 3:23-cv-03417-VC                       Document 509-2                  Filed 03/31/25               Page 4 of 18




     Walsh v. Townsquare Media, Inc., 464 F. Supp. 3d 570 (S.D.N.Y. 2020) .......................... 9
 1

 2   Statutes
 3   U.S. Const., art. I, § 8, cl. 8 .................................................................................................. 2
 4   Other Authorities

 5   Amanda Levendowski, How Copyright Law Can Fix Artificial Intelligence’s Implicit Bias
     Problem, 93 Wash. L. Rev. 579 (2018)........................................................................ 11, 12
 6
     Mark A. Lemley & Bryan Casey, Fair Learning, 99 Texas Law Review 743 (2021) ...... 12
 7
     Matthew Sag, Fairness and Fair Use in Generative AI, 92 Fordham L. Rev. 1887 (2024) 4
 8
     Matthew Sag, Copyright and Copy-Reliant Technology, 103 N.W.U. L. REV. 1607 (2009)
 9   ……………………………………………………………………………………10
10   Michael Masnick & Leigh Beadon, The Sky Is Rising 2024: A Detailed Look at the State

11   of the Entertainment Industries .......................................................................................... 12
     Pamela Samuelson, Fair Use Defenses in Disruptive Technology Cases, 71 UCLA L. Rev.
12
     1484 (2024) ........................................................................................................................ 11
13
     Pierre N. Leval, Toward a Fair Use Standard, 103 Harv. L. Rev. 1105 (1990) ................. 4
14
     Rebecca Tushnet, All of This Has Happened Before and All of This Will Happen Again:
15   Innovation in Copyright Licensing, 29 Berkeley Tech. L.J. 1447, 1483 (2014) ................ 11
16   Molly S. Van Houweling, The Freedom to Extract in Copyright Law, 103 N.C. L. REV.
     445 (2025)……………………………………………………………………………..9-10
17

18

19

20

21

22

23

24

25

26

27
               AMICUS BRIEF OF IP LAW PROFESSORS, CASE NO. 3:23-cv-03417-VC-TSH
                                                                  iv
28
     Case 3:23-cv-03417-VC             Document 509-2         Filed 03/31/25       Page 5 of 18




                Amici have sharply different views on the social costs and benefits of generative
 1
         AI, but agree on one thing: Copyright is not the correct tool for managing those costs and
 2
         benefits, especially with respect to training data. Rejecting existing precedent about the
 3
         fairness of intermediate uses—internal copying designed to produce a noninfringing
 4

 5       output—would be harmful to the copyright system as a whole, which is designed to

 6       encourage the production of new knowledge and new works.

 7

 8       STATEMENT OF INTEREST OF AMICI CURIAE

 9

10
                Amici, listed in the Appendix are scholars whose research and teaching focus has
11
         included copyright law. 1 Amici have no direct interest in the outcome of this litigation.
12

13
         SUMMARY OF ARGUMENT
14

15

16              Plaintiffs’ motion for partial summary judgment argues that the fair use analysis

17       related to Meta’s internal copying should be analyzed in isolation from the purpose of

18       that internal reproduction: to create a tool that will create new outputs. This is a legal
19
         error; the purpose of the copying can only be analyzed along with its purpose: to create a
20
         new tool that generates new insights and information. 2
21

22

23   1
       Amici certify that no party’s counsel authored this brief in whole or in part; no party or
24   party’s counsel contributed money that was intended to fund the preparation or submission
     of this brief; and no person other than the amici contributed money that was intended to
25   fund the preparation or submission of this brief.
     2
       Amici take no position on whether a specific output infringes or whether a fair use
26   defense is available to specific outputs. Amici also are not arguing that Meta may share
     full or substantially similar copies with the public.
27
               AMICUS BRIEF OF IP LAW PROFESSORS, CASE NO. 3:23-cv-03417-VC-TSH
                                                    1
28
     Case 3:23-cv-03417-VC          Document 509-2         Filed 03/31/25      Page 6 of 18




             The case law, including binding circuit precedent, holds that internal copying,
 1
      made in the course of creating new knowledge, is a transformative use that is heavily
 2
      favored by fair use doctrine. In addition, the cases reject any claimed market for licensing
 3
      non-consumptive, non-expressive use; the desire to be paid for use does not create a
 4

 5    market. These are the key issues before the Court.

 6

 7
      ARGUMENT
 8

 9
     I.   Fair Use Is Concerned with the Production of Knowledge, Not “Fairness” in
10        General.
11
             “[W]hile authors are undoubtedly important intended beneficiaries of copyright,
12
      the ultimate, primary intended beneficiary is the public, whose access to knowledge
13
      copyright seeks to advance by providing rewards for authorship.” Authors Guild v.
14

15    Google, Inc., 804 F.3d 202, 212 (2d Cir. 2015) [Authors Guild]. Thus, “[t]he ultimate test

16    of fair use is whether the copyright law’s goal of ‘promoting the Progress of Science and
17    useful Arts’ ‘would be better served by allowing the use than by preventing it.’ ” Castle
18
      Rock Ent., Inc. v. Carol Pub. Grp., Inc., 150 F.3d 132, 141 (2d Cir. 1998) (quoting U.S.
19
      Const., art. I, § 8, cl. 8; Arica Inst., Inc. v. Palmer, 970 F.2d 1067, 1077 (2d Cir. 1992)).
20
             That is, copyright, including fair use, does not seek to benefit the public by
21

22    improving life in general: it seeks to benefit the public by increasing access to

23    knowledge. The Supreme Court has endorsed this view: The “public benefits the copying

24    will likely produce” are the focus of the assessment, as they are “related to copyright’s
25    concern for the creative production of new expression.” Google, 593 U.S. at 35.
26

27
            AMICUS BRIEF OF IP LAW PROFESSORS, CASE NO. 3:23-cv-03417-VC-TSH
                                                2
28
     Case 3:23-cv-03417-VC             Document 509-2          Filed 03/31/25       Page 7 of 18




                 Modern copyright cases have, in line with this reasoning, considered the
 1
         defendant’s “good faith” at most when it related to intentional displacement of the right
 2
         of first publication. In Harper & Row, Publishers, Inc. v. Nation Enterprises, the
 3
         Supreme Court held that the Nation’s intended purpose to “scoop” other publishers and
 4

 5       thus supplant the right of first publication was relevant to the first fair use factor analysis.

 6       471 U.S. 539, 562 (1985). More recent copyright cases have expressed skepticism about

 7       the nebulousness of “good faith” outside the more manageable question of whether there
 8
         is substitution for a legitimate, functioning licensing market for a specific use. Google,
 9
         593 U.S. at 32; Campbell v. Acuff-Rose Music, Inc., 510 U.S. 569, 585 n.18 (1994). 3
10
         Thus, it is wrong to say, as plaintiffs do, that “for fair use to apply, the work that was
11
         copied must have been lawfully acquired in the first place.” Kadrey Br. at 22.
12

13               Plaintiffs’ argument conflates the work (the subject of copyright) with the

14       unauthorized making of a specific copy of the work (a precondition for any claim that the
15       right of reproduction was infringed). Just as possessing a lawfully made copy does not
16
         itself entitle a copy-owner to make more copies, possessing a lawfully made copy is not a
17
         precondition for fair use. In Perfect 10, Inc. v. Amazon.com, Inc., 508 F.3d 1146 (9th Cir.
18
         2007), for example, the Ninth Circuit found fair use even though Google’s thumbnails
19

20       were produced by copying unauthorized copies on “pirate” sites and linked back to those

21       sites. Id. at 1157, 1166. Nonetheless, the product of Google’s copying—the thumbnail

22

23

24
     3
25     See also, e.g., Swatch Group Management Services Ltd. v. Bloomberg L.P., 756 F.3d 73,
     82-84 (2d Cir. 2014) (unauthorized access did not weigh against fair use where use was
26   transformative); Santos v. Kimmel, 745 F. Supp. 3d 153, 165 (S.D.N.Y. Aug. 19, 2024)
     (deception and contract violation didn’t weigh against fair use).
27
               AMICUS BRIEF OF IP LAW PROFESSORS, CASE NO. 3:23-cv-03417-VC-TSH
                                                    3
28
     Case 3:23-cv-03417-VC             Document 509-2         Filed 03/31/25      Page 8 of 18




         images and image search database—was transformative and therefore the copying was
 1
         fair. Id. at 1165-66. 4
 2
                 The cases cited by plaintiffs, by contrast to the case at bar, involve unauthorized
 3
         copies made for consumptive use—downloads that were then enjoyed as individual
 4

 5       works by the downloaders. Kadrey Br. 23-24, 26-27. Those cases do not set forth a rule

 6       for copies that were never perceived by humans, which were made in order to make new

 7       tools and identify new insights. The cases instead agree that such “big data” copies are
 8
         transformative. See Matthew Sag, Fairness and Fair Use in Generative AI, 92 Fordham
 9
         L. Rev. 1887, 1905 (2024) (explaining how the case law distinguishes between uses that
10
         systematically expose substantial amounts of expression to the public and uses that do
11
         not); cf. Flo & Eddie, Inc. v. Sirius XM Radio, Inc., 821 F.3d 265, 270 n.4 (2d Cir. 2016)
12

13       (“The fair-use analysis applicable to [creating an internal database of recordings] … is

14       bound up with whether the ultimate use of the internal copies [to make public
15       performances] is permissible.”).
16
                 Fair use, like copyright as a whole, “is not a privilege reserved for the well-
17
         behaved.” Pierre N. Leval, Toward a Fair Use Standard, 103 Harv. L. Rev. 1105, 1126
18
         (1990). Fair use doctrine should focus on the consequences of a ruling for knowledge and
19

20       expression. Other considerations should be left for other legal regimes.

21

22

23

24

25
     4
      See also id. at 1164 n.8 (“We reject at the outset Perfect 10’s argument that providing
26   access to infringing websites cannot be deemed transformative and is inherently not fair
     use.”).
27
               AMICUS BRIEF OF IP LAW PROFESSORS, CASE NO. 3:23-cv-03417-VC-TSH
                                                   4
28
     Case 3:23-cv-03417-VC         Document 509-2         Filed 03/31/25     Page 9 of 18




     II. Copying to Create New Tools Is Transformative
 1
            Matthew Sag has succinctly summarized the state of the case law:
 2
         Courts have consistently held that technical acts of copying that do not communicate
 3
         an author’s original expression to a new audience constitute fair use. Examples of
 4       non-expressive uses include copying object code to extract uncopyrightable facts and
         interoperability keys (“reverse engineering”), an automated process of copying
 5       student term papers to compare to other papers for plagiarism detection, copying
         HTML webpages to make a search engine index, copying printed library books to
 6       allow researchers to conduct statistical analyses of the contents of whole collections
         of books, and copying printed library books to create a search engine index.
 7

 8           The case law indicates that even though these non-expressive uses involved
         significant amounts of copying, they did not interfere with the original expression that
 9       copyright is designed to protect. Each use involved copying as an intermediate step
         toward producing something that either did not contain the original expression of the
10       underlying work or contained a trivial amount. Courts have consistently held that
         non-expressive uses (although not labeled as such) are fair use.
11

12    Sag, supra, at 1903 (footnotes omitted); see, e.g., Authors Guild, 804 F.3d at 207, 214,

13    216-17 (enabling text analysis of a corpus of works by users was transformative;
14    intermediate copying in that case allowed Google to “augment public knowledge …
15
      without providing the public with a substantial substitute for matter protected by the
16
      Plaintiffs; copyright interests”); Authors Guild, Inc. v. HathiTrust, 755 F.3d 87, 90 (2d
17
      Cir. 2014) [HathiTrust] (same); A.V. ex rel. Vanderhye v. iParadigms, LLC, 562 F.3d
18

19    630, 639-40 (4th Cir. 2009) (creating plagiarism detection tool for use by schools and

20    teachers was transformative); see also Sega Enterprises Ltd. v. Accolade Inc., 977 F.2d

21    1510 (9th Cir. 1992) (internal copying of video games for analysis and creation of a
22    noninfringing alternative); American Institute of Physics v. Schwegman, Lundberg &
23
      Woessner, P.A., 2013 WL 4666330, *6-7, *10-11 (D. Minn. Aug. 30, 2013) (internal
24
      copying for the purpose of preparing patent applications was “transformative use because
25

26

27
            AMICUS BRIEF OF IP LAW PROFESSORS, CASE NO. 3:23-cv-03417-VC-TSH
                                               5
28
     Case 3:23-cv-03417-VC             Document 509-2         Filed 03/31/25       Page 10 of 18




          it was related to patenting, not to using the expression of the articles”). 5 These cases
 1
          demonstrate that the intermediate use/non-expressive use cases are not limited to
 2
          software, contrary to the suggestion of the court in Thomson Reuters Enterprise Centre
 3
          GMBH v. Ross Intelligence Inc., --- F.Supp.3d ----, 2025 WL 458520 (D. Del. Feb. 11,
 4

 5        2025), motion for interlocutory appeal filed, Mar. 18, 2025. There is no logical reason for

 6        any such limitation, and Professor Sag’s analysis explains why the principle is a general

 7        one.
 8
                  Relatedly, the Supreme Court held that computer code that, though it actually
 9
          directly copied code, also opened up significant new opportunities for people using that
10
          code, was also transformative. Google LLC v. Oracle America Inc., 593 U.S. 1, 30 (2021)
11
          (“[Google’s] new product offers programmers a highly creative and innovative tool ….
12

13        [I]ts use was consistent with that creative ‘progress’ that is the basic constitutional

14        objective of copyright itself.”). The Court made clear that Java and Android had some
15        overlapping uses and functions, but because Android was also generative of new
16
          programs and insights, it was transformative. Id. Even imperfect new tools are fair if their
17
          purpose is transformative. A.V. likewise held that summary judgment was appropriate
18
          despite a dispute over whether defendant’s plagiarism detection software actually
19

20        worked. “The question of whether a use is transformative does not rise or fall on whether

21        the use perfectly achieves its intended purpose.” 562 F.3d at 640.

22

23
      5
24      Where the defendant’s internal copying was in the service of creating a work for
      distribution to the public, courts also hold that only the final version of the defendant’s
25    work, and not intermediate versions, are the appropriate subject of analysis, even outside
      the fair use context. See, e.g., Briggs v. Blomkamp, 70 F. Supp. 3d 1155, 1168 n.2 (N.D.
26    Cal. 2014), aff’d sub nom. Briggs v. Sony Pictures Entm’t, Inc., 714 F. App’x 712 (9th Cir.
      2018).
27
                 AMICUS BRIEF OF IP LAW PROFESSORS, CASE NO. 3:23-cv-03417-VC-TSH
                                                     6
28
     Case 3:23-cv-03417-VC         Document 509-2         Filed 03/31/25      Page 11 of 18




      III. Given Transformativeness, Fair Use Factors Two and Three Are of Limited
 1         Significance.

 2           Factor two, the nature of the work, is of less importance when the copying is

 3    internal and the public is not invited to consume works for their expressive value. See,
 4
      e.g., A.V., 562 F.3d at 641-42 (affirming conclusion that “even if the plaintiffs’ works
 5
      were highly creative in nature, iParadigms’ use of the plaintiffs’ works was not related to
 6
      the creative core of the works,” so factor two did not disfavor fair use). The degree of
 7
      creativity in a work is also less important when a work has been previously published, so
 8

 9    that the copyright owner has already had the opportunity to exploit it. See, e.g., Swatch

10    Grp. Mgmt. Servs. Ltd., 756 F.3d at 89 (“[B]ecause Swatch Group publicly disseminated
11    the spoken performance embodied in the recording before Bloomberg’s use, the
12
      publication status of the work favors fair use.”); Blanch v. Koons, 467 F.3d 244, 256 (2d.
13
      Cir. 2006); Kelly, 336 F.3d at 820 (“The fact that a work is published or unpublished also
14
      is a critical element of its nature. Published works are more likely to qualify as fair use
15
      because the first appearance of the artist’s expression has already occurred.”) (footnote
16

17    omitted); Arica Institute, Inc. v. Palmer, 970 F.2d 1067, 1078 (2d Cir. 1992) (factor two

18    favors fair use where accusing work is “a published work available to the general
19    public”); Walsh v. Townsquare Media, Inc., 464 F. Supp. 3d 570, 585 (S.D.N.Y. 2020)
20
      (use of a previously published work with mixed creative and factual elements favors fair
21
      use); Lewis Galoob Toys, Inc. v. Nintendo of America, Inc., 780 F. Supp. 1283, 1293
22
      (N.D. Cal. 1991) (“The works’ published nature supports the fairness of the use.”), aff’d,
23

24    964 F.2d 965 (9th Cir. 1992).

25           Likewise, when internal, intermediate copying occurs for the transformative

26    purpose of creating new knowledge, courts have routinely found fair use when an entire
27
            AMICUS BRIEF OF IP LAW PROFESSORS, CASE NO. 3:23-cv-03417-VC-TSH
                                                7
28
     Case 3:23-cv-03417-VC          Document 509-2       Filed 03/31/25      Page 12 of 18




      work is copied. See, e.g., Perfect 10, Inc., 508 F.3d at 1167–68 (use of entire image was
 1
      necessary since using less would diminish usefulness of visual search engine which had
 2
      transformative purpose) (citing Kelly v. Arriba Soft Corp., 336 F.3d 811, 821 (9th Cir.
 3
      2003)); Sag, supra, at 1915 (“Although non-expressive uses typically involve making
 4

 5    complete literal copies, courts have found such copying is reasonable when it is an

 6    intermediate technical step in an analytical process that does not lead to the

 7    communication of the underlying original expression to a new audience.”) (footnote
 8
      omitted).
 9
             This tolerance for internal copying makes sense given the nature of the fair use
10
      inquiry. The core question is not whether, in judicial hindsight, the defendant took more
11
      than absolutely necessary, but whether the amount taken was “reasonable in relation to
12

13    the purpose of the copying.” Campbell, 510 U.S. at 586; see also Oracle, 141 S.Ct. at

14    1205 (“Google copied those lines not because of their creativity, their beauty, or even (in
15    a sense) because of their purpose. … The ‘substantiality’ factor will generally weigh in
16
      favor of fair use where, as here, the amount of copying was tethered to a valid, and
17
      transformative, purpose.”).
18

19

20    IV. Intermediate Copying for a Transformative Purpose Is Not a Market To Which
          Plaintiffs Are Entitled.
21

22           Courts have repeatedly held that the fourth fair use factor does not disfavor a

23    defendant when a defendant makes full copies of works, as long as the use was
24
      sufficiently transformative. See, e.g., Authors Guild, 804 F.3d at 223-25; HathiTrust, 755
25
      F.3d at 98 (2nd Cir. 2014); Bill Graham Archives v. Dorling Kindersley Ltd., 448 F.3d
26
      605, 613 (2d Cir. 2006); see also, e.g., American Society for Testing & Materials v.
27
            AMICUS BRIEF OF IP LAW PROFESSORS, CASE NO. 3:23-cv-03417-VC-TSH
                                                8
28
     Case 3:23-cv-03417-VC              Document 509-2       Filed 03/31/25      Page 13 of 18




          Public.Resource.org, Inc., 82 F.4th 1262, 1271 (D.C. Cir. 2023); A.V. v. iParadigms,
 1
          LLC, 562 F.3d 630, 642 (4th Cir. 2009); Perfect 10, Inc. v. Amazon.com, Inc., 508 F.3d
 2
          1146, 1165 (9th Cir. 2007).
 3
                  Courts’ consistent recognition that not all claimed losses are cognizable under
 4

 5        factor four prevents the market harm factor from becoming circular. Dorling Kindersley,

 6        448 F.3d at 614-15 (“a copyright holder cannot prevent others from entering fair use

 7        markets”); Castle Rock Entertainment Inc. v. Carol Publishing Group, 150 F.3d 132, 146
 8
          n.11 (2d Cir. 1998) (holding that a copyright owner cannot control fair use markets
 9
          merely “by developing or licensing a market for parody, news reporting, educational or
10
          other transformative uses of its own creative work”); Cambridge University Press v.
11
          Patton, 769 F.3d 1232, 1276 (11th Cir. 2014) (“The goal of copyright is to stimulate the
12

13        creation of new works, not to furnish copyright holders with control over all markets.

14        Accordingly, the ability to license does not demand a finding against fair use.”); id. at
15        1278 (“Plaintiffs may not head off a defense of fair use by complaining that every
16
          potential licensing opportunity represents a potential market for purposes of the fourth
17
          fair use factor.”). 6
18
                  In particular, the market for authorizing non-expressive internal uses is not within
19

20        the scope of copyright owners’ rights, and so there is no cognizable harm when they are

21

22
      6
        Relatedly, the market harm must be material or substantial before it weighs against fair
23    use. Patton, 769 F.3d 1282 (factor four “asks whether the market harm caused by
24    Defendants’ unpaid copying will materially impair Plaintiffs’ incentive to publish”;
      Authors Guild v. Google, Inc., 804 F.3d at 224 (“[T]he possibility, or even the probability
25    or certainty, of some loss of sales does not suffice to make the copy an effectively
      competing substitute that would tilt the weighty fourth factor in favor of the rights holder
26    in the original. There must be a meaningful or significant effect ‘upon the potential market
      for or value of the copyrighted work.’”) (quoting 17 U.S.C. § 107).
27
                 AMICUS BRIEF OF IP LAW PROFESSORS, CASE NO. 3:23-cv-03417-VC-TSH
                                                    9
28
     Case 3:23-cv-03417-VC         Document 509-2         Filed 03/31/25      Page 14 of 18




      deprived of exclusivity over those uses. Although AI tools may create new works, if the
 1
      new works themselves are noninfringing, that is a good result from copyright’s
 2
      perspective.
 3
             In order to appropriately protect copyrightable expression but not unprotected
 4

 5    elements within a work, factor four has not considered “market impacts that result from

 6    the use of unprotected rather than protected elements.” Molly S. Van Houweling, The

 7    Freedom to Extract in Copyright Law, 103 N.C. L. Rev. 445, 509 (2025). A summary of
 8
      unprotected facts and ideas from a larger book may provide readers with all the
 9
      information they seek; a new Yellow Pages directory or other taxonomy may organize
10
      unprotected data so well that previous versions are no longer attractive to readers. But
11
      copyright does not protect against that kind of market loss. NXIVM Corp., 364 F.3d at
12

13    482 (“[T]he relevant market effect with which we are concerned is the market for

14    plaintiffs’ ‘expression,’ and thus it is the effect of defendants’ use of that expression on
15    plaintiffs’ market that matters, not the effect of defendants’ work as a whole.”); Authors
16
      Guild v. Google, Inc., 804 F.3d at 224 (cognizable market effect must be based on
17
      copyrightable aspects of what was copied, not on uncopyrightable aspects). Recognizing
18
      fair use in such cases is one way of implementing the Supreme Court’s command that
19

20    factor four analysis must “take into account the public benefits the copying will likely

21    produce,” particularly those “related to copyright’s concern for the creative production of

22    new expression.” Oracle, 593 U.S. at 35-36.
23           As Matthew Sag has explained:
24
             [A]lthough the fourth factor risks collapsing into circularity because everything is
25           a potential market effect, courts have in fact avoided this nadir by applying certain
             limiting principles that emphasize that the copyright market is limited to
26           expressive substitution. The logical implication of the exclusion of economic
27
            AMICUS BRIEF OF IP LAW PROFESSORS, CASE NO. 3:23-cv-03417-VC-TSH
                                                10
28
     Case 3:23-cv-03417-VC        Document 509-2         Filed 03/31/25      Page 15 of 18




             consequences that do not arise from expressive substitution is that to the extent
 1           that a use is nonexpressive, it typically has no cognizable market effect under the
             fourth factor.… [F]air use cases often turn on the simple question of whether the
 2           particular market claimed by the plaintiff is one that is cognizable under
             copyright. … This principle is reflected in the seemingly unrelated cases
 3           involving parody and the reverse engineering of computer software. In both
             scenarios, courts exclude consideration of market effects that do not arise from
 4           expressive substitution.
 5
      Copyright and Copy-Reliant Technology, 103 N.W.U. L. REV. 1607, 1653-54 (2009); cf.
 6
      Patton, 769 F.3d at 1277-78 (risk of circularity is particularly high when the claimed
 7
      market is “a market for licenses to use Plaintiffs’ works in a particular way”).
 8

 9           Large-scale intermediate copying is particularly unlikely to interfere with a

10    cognizable market because of the sheer size of the corpus, which makes licensing

11    unworkable as a practical matter and thus not traditional, reasonable, or likely to be
12
      developed. Pamela Samuelson summarized the problem:
13
             [N]o class yet exists that is capable of granting a license to use class members’
14           works as training data, and none certainly existed when the defendants’ datasets
             were created and used to train AI models. Nor is it possible for AI developers to
15           license the rights to use all in-copyright works available on the internet, given the
             exceptionally large number of works and copyright owners at stake. Transaction
16
             costs would be prohibitive relative to the value of use of works as training data.
17           Hence, market failure considerations would seem to undercut the class action
             plaintiffs’ market harm arguments.
18
      Pamela Samuelson, Fair Use Defenses in Disruptive Technology Cases, 71 UCLA L.
19

20    Rev. 1484, 1561 (2024) (footnotes omitted). See also Rebecca Tushnet, All of This Has

21    Happened Before and All of This Will Happen Again: Innovation in Copyright Licensing,

22    29 Berkeley Tech. L.J. 1447, 1483 (2014) (“To claim that licenses can replace fair use
23    because some participants within each market are willing to license most of the time is to
24
      advocate the suppression of all fair uses that rely on works that aren’t within the licensing
25

26

27
            AMICUS BRIEF OF IP LAW PROFESSORS, CASE NO. 3:23-cv-03417-VC-TSH
                                               11
28
     Case 3:23-cv-03417-VC             Document 509-2         Filed 03/31/25       Page 16 of 18




          scheme.”). 7 Indeed, even an attempt to create a license-by-class-action regime for Google
 1
          Books failed because of, inter alia, the substantial differences in authors’ interests that
 2
          precluded class treatment. Authors Guild v. Google, Inc., 770 F.Supp.2d 666, 679–680
 3
          (S.D.N.Y.2011).
 4

 5               These market failures have real consequences for the public benefits that large

 6        datasets can otherwise provide. Licensed alternatives are likely to have systematic biases

 7        in content that could do real harm. See Amanda Levendowski, How Copyright Law Can
 8
          Fix Artificial Intelligence’s Implicit Bias Problem, 93 Wash. L. Rev. 579, 590, 630
 9
          (2018) (explaining how limited, licensed datasets are likely to be biased against specific
10
          groups and perspectives); Mark A. Lemley & Bryan Casey, Fair Learning, 99 Texas Law
11
          Review 743, 770 (2021) (“Smaller, proprietary datasets—particularly those with large
12

13        and nonrandom gaps due to failures of copyright licensing—will lead to worse decisions

14        by ML systems. And those worse decisions have real-world consequences.”) (footnote
15        omitted).
16

17    V. Conclusion

18               Copyright owners have often predicted that new technologies, from photocopying
19        to home VCRs to the internet, would create disasters for copyright owners and that fair
20
          use needed to be shrunk to protect them; instead, new technologies have routinely created
21

22

23    7
        “In the music businesses, the one sector of copyrighted content headed to this model [of
24    identifying and licensing everything], they are far from perfecting it despite nearly a
      century of good work towards it.” Nat’l Telecomm. & Info. Admin., Request For
25    Comments On Department Of Commerce Green Paper, Copyright Policy, Creativity, And
      Innovation In The Digital Economy, No. 130927852-3852-01, Comments Of DeviantArt
26    31 (Nov. 13, 2013), available at
      http://www.ntia.doc.gov/files/ntia/deviant_art_comments.pdf.
27
                AMICUS BRIEF OF IP LAW PROFESSORS, CASE NO. 3:23-cv-03417-VC-TSH
                                                    12
28
     Case 3:23-cv-03417-VC         Document 509-2         Filed 03/31/25    Page 17 of 18




      new markets. See Samuelson, supra, at 1571-72; Michael Masnick & Leigh Beadon, The
 1
      Sky Is Rising 2024: A Detailed Look at the State of the Entertainment Industries,
 2
      https://copia.is/library/the-sky-is-rising-2024/.
 3
             This history should caution against rejecting the many precedents supporting
 4

 5    intermediate copying for the purpose of creating new and useful tools that millions of

 6    people use. Whatever the risks of AI—and there may be many—condemning the act of

 7    creating large-scale training datasets as copyright infringement is not the answer.
 8

 9      Dated:      March 31, 2025
                                                      By: /s/ Rebecca Tushnet
10                                                    Rebecca Tushnet (No. 3043296 (N.Y.))
                                                      (pro hac vice pending)
11                                                    rtushnet@law.harvard.edu
                                                      520 Hauser, Harvard Law School
12                                                    1575 Massachusetts Avenue
                                                      Cambridge, MA 02130
13                                                    Tel: 703-593-6759

14                                                    Chris K. Ridder (SBN 218691)
                                                      Ridder, Costa & Johnstone LLP
15                                                    chris@rcjlawgroup.com
                                                      440 N. Barranca Avenue, #7550
16                                                    Covina, CA 91723
                                                      Tel: (650) 466-0586
17                                                    Fax: 650) 466-6182

18                                                    Attorneys for Amici Curiae

19

20

21

22

23

24

25

26

27
            AMICUS BRIEF OF IP LAW PROFESSORS, CASE NO. 3:23-cv-03417-VC-TSH
                                                13
28
     Case 3:23-cv-03417-VC           Document 509-2         Filed 03/31/25       Page 18 of 18




                                               APPENDIX 8
 1

 2
      Matthew Sag
 3    Jonas Robitscher Professor of Law in Artificial Intelligence, Machine Learning, and Data
      Science, Emory University.
 4
      Zahr K. Said
 5    Professor of Law
 6    Santa Clara University School of Law

 7    Jessica Silbey
      Professor of Law, Boston University School of Law
 8
      Rebecca Tushnet
 9
      Frank Stanton Professor of the First Amendment, Harvard Law School
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26
      8
          Institutional affiliations are provided solely for purposes of identification.
27
              AMICUS BRIEF OF IP LAW PROFESSORS, CASE NO. 3:23-cv-03417-VC-TSH
                                                  14
28
